 Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 1 of 41




                  UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF WASHINGTON
                           AT SEATTLE

DANIEL HOPKINS,                      CASE NO. C18-1723 MJP

                     Plaintiff,      COURT’S FINAL INSTRUCTIONS
                                     TO THE JURY
       v.

INTEGON GENERAL INSURANCE
CORPORATION,

                     Defendant.




Dated October 14, 2020.



                                  A
                                  Marsha J. Pechman
                                  United States Senior District Judge
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 2 of 41




                                       INSTRUCTION NO 1.

        Members of the jury, now that you have heard all the evidence, it is my duty to instruct

you on the law that applies to this case. It is this final set of instructions that controls your

consideration.

        It is your duty to weigh and to evaluate all the evidence received in the case and, in that

process, to decide the facts. It is also your duty to apply the law as I give it to you to the facts as

you find them, whether you agree with the law or not. You must decide the case solely on the

evidence and the law and must not be influenced by any personal likes or dislikes, opinions,

prejudices, or sympathy. You will recall that you took an oath promising to do so at the

beginning of the case.

        You must follow all these instructions and not single out some and ignore others; they are

all important. You must not make any assumptions based upon any changes from the

preliminary set of instructions. It is the final set that you are governed by. Please do not read

into these instructions or into anything I may have said or done any suggestion as to what verdict

you should return—that is a matter entirely up to you.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 3 of 41




                                     INSTRUCTION NO 2.

           To help you follow the evidence, I will give you a brief summary of the positions of

the parties:

           This is a civil case brought against Defendant Integon General Insurance Company.

The plaintiff is Daniel Hopkins. On April 23, 2016, Plaintiff Daniel Hopkins and his wife, Irene,

were stopped behind a pedestrian crosswalk on Northwest 85th Street in Seattle, Washington

when they were hit from behind by another driver.

           The driver who caused the crash was under-insured at the time of the collision.

Plaintiff Hopkins is an insured under his Uninsured Motorist (“UIM”) policy with Defendant

Integon General Insurance Corporation. Because the driver who caused the crash was

underinsured, Plaintiff Hopkins has a claim for the insurance benefits against Defendant Integon,

his insurer for this claim.

           Plaintiff Hopkins makes the following five claims against Defendant Integon:

1)         For insurance benefits;



2)         For violation of the Consumer Protection Act;



3)         For violation of the Insurance Fair Conduct Act;



4)         For violation of the insurance duty of good faith; and



5)         For negligently handling Mr. Hopkins’ UIM claim.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 4 of 41




           Plaintiff Daniel Hopkins claims that, as a result of Defendant Integon General Insurance

Corporation’s conduct, he suffered damages. You will be asked to determine the value of each of

these claims.



           Defendant Integon General Insurance Corporation disputes the amount of benefits

requested and denies each and every one of Plaintiff Hopkins’ claims.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 5 of 41




                                      INSTRUCTION NO 3.

           During deliberations, you will have to make your decision based on what you recall of

the evidence. You will not have a transcript of the trial. I urge you to pay close attention to the

testimony as it is given.

           If at any time you cannot hear or see the testimony, evidence, questions or arguments,

let me know so that I can correct the problem.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 6 of 41




                                     INSTRUCTION NO 4.

           Those exhibits received in evidence that are capable of being displayed electronically

by using the “Box” platform will be provided to you in that form, and you will be able to view

them in the jury room.

           A court technician will show you how to use the “Box” platform and how to locate

and view the exhibits on your device. If you have questions about how to operate the “Box”

platform, you may send a note through the “Chat” function of ZoomGov to the courtroom

deputy. Do not refer to or discuss any exhibit you were attempting to view.

           If a technical problem or question requires hands-on maintenance or instruction, a

court technician may enter the jury room with the courtroom deputy present for the sole purpose

of assuring that the only matter that is discussed is the technical problem. When the court

technician or any nonjuror is in the jury room, the jury shall not deliberate. No juror may say

anything to the court technician or any nonjuror other than to describe the technical problem or

to seek information about operation of the equipment. Do not discuss any exhibit or any aspect

of the case.

           The sole purpose of providing the “Box” platform in the jury room is to enable jurors

to view the exhibits received in evidence in this case. You may not use the platform or your

devices for any other purpose (for example, any website, database, directory, dictionary, or

game). If you discover that the computer provides or allows access to such materials, you must

inform the court immediately and refrain from viewing such materials. Do not remove the

computer or any electronic data from the jury room, and do not copy any such data.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 7 of 41




                                    INSTRUCTION NO 5.

       You had permission to take notes to help you remember the evidence. If you took notes,

please keep them to yourself until you and your fellow jurors go to the jury room to decide the

case. When you leave, you should destroy your notes.

       Whether or not you took notes, you should rely on your own memory of the evidence.

Notes are only to assist your memory. You should not be overly influenced by your notes or

those of your fellow jurors.
          Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 8 of 41




                                         INSTRUCTION NO 6.

         There are rules of evidence that control what can be received into evidence. During trial,

when a lawyer asked a question or offered an exhibit into evidence and a lawyer on the other side

thought that it was not permitted by the rules of evidence, that lawyer was allowed to object. If I

overruled the objection, the question could have properly been answered or the exhibit received.

If I sustained the objection, the question could not have been properly answered, and the exhibit

was not received. Whenever I sustained an objection to a question, you must ignore that

question and must not guess what the answer might have been or consider any answer that was

given.

         During the trial, I may have ordered that evidence be stricken from the record and that

you disregard or ignore the evidence. When you are deciding the case, you must not consider the

evidence that I told you to disregard.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 9 of 41




                                     INSTRUCTION NO 7.

The evidence you are to consider in deciding what the facts are consists of:

                     1)        the sworn testimony of any witness;

                     2)        the exhibits which were received into evidence;

                     3)        any facts to which the lawyers have agreed; and

                     4)        any facts that I instruct you to accept as proved.

          You may also hear testimony in the form of depositions. This testimony is also

evidence from which you are to decide the facts. You should draw no inference from whether

these individuals were or were not physically present in the court themselves.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 10 of 41




                                       INSTRUCTION NO 8.

        In reaching your verdict, you may consider only the testimony and exhibits received into

evidence. Certain things are not evidence, and you may not consider them in deciding what the

facts are. I will list them for you:


1)         Arguments and statements by lawyers are not evidence. The lawyers are not witnesses.

What they say in their opening statements, closing arguments, and at other times is intended to

help you interpret the evidence, but it is not evidence. If the facts as you remember them differ

from the way the lawyers have stated them, your memory of them controls.


2)          Questions and objections by lawyers are not evidence. Attorneys have a duty to their

clients to object when they believe a question is improper under the rules of evidence. You

should not be influenced by the objection or by the court’s ruling on it.


3)          Testimony that has been excluded or stricken, or that you have been instructed to

disregard, is not evidence and must not be considered.


4)         Anything you may have seen or heard when the court was not in session is not

evidence. You are to decide the case solely on the evidence received at the trial. In addition

some evidence is received only for a limited purpose; when I instructed you to consider certain

evidence only for a limited purpose, you must do so and you may not consider that evidence for

any other purpose.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 11 of 41




                                     INSTRUCTION NO 9.

          Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,

such as testimony by a witness about what that witness personally saw or heard or did.

Circumstantial evidence is proof of one or more facts from which you could find another fact.

You should consider both kinds of evidence. The law makes no distinction between the weight to

be given to either direct or circumstantial evidence. It is for you to decide how much weight to

give to any evidence.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 12 of 41




                                      INSTRUCTION NO 10.

         In deciding the facts in this case, you may have to decide which testimony to believe and

which testimony not to believe. You may believe everything a witness says, or part of it, or none

of it.

         In considering the testimony of any witness, you may take into account:

1)         the opportunity and ability of the witness to see or hear or know the things testified to;

2)         the witness’s memory;

3)         the witness’s manner while testifying;

4)         the witness’s interest in the outcome of the case, if any;

5)         the witness’s bias or prejudice, if any;

6)         whether other evidence contradicted the witness’s testimony;

7)         the reasonableness of the witness’s testimony in light of all the evidence; and

8)         any other factors that bear on believability.

           Sometimes a witness may say something that is not consistent with something else he

or she said. Sometimes different witnesses will give different versions of what happened. People

often forget things or make mistakes in what they remember. Also, two people may see the same

event but remember it differently. You may consider these differences, but do not decide that

testimony is untrue just because it differs from other testimony.

           However, if you decide that a witness has deliberately testified untruthfully about

something important, you may choose not to believe anything that witness said. On the other
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 13 of 41




hand, if you think the witness testified untruthfully about some things but told the truth about

others, you may accept the part you think is true and ignore the rest.

       The weight of the evidence as to a fact does not necessarily depend on the number of

witnesses who testify. What is important is how believable the witnesses were, and how much

weight you think their testimony deserves.
           Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 14 of 41




                                     INSTRUCTION NO 11.

       You have heard testimony from experts who testified to opinions and the reasons for their

opinions. This opinion testimony was allowed because of the education or experience of the

witness.

       Such opinion testimony should be judged like any other testimony. You may accept it or

reject it, and give it as much weight as you think it deserves, considering the witness’s education

and experience, the reasons given for the opinion, and all the other evidence in the case.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 15 of 41




                                     INSTRUCTION NO 12.

          All parties are equal before the law and a corporation is entitled to the same fair and

conscientious consideration by you as any party.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 16 of 41




                                    INSTRUCTION NO 13.

       Defendant Integon General Insurance Corporation is a corporation. A corporation can act

only through its officers and employees. Any act or omission of an officer or employee is the act

or omission of the corporation. A corporation is charged with the knowledge of its officers,

agents and employees.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 17 of 41




                                    INSTRUCTION NO 14.

       In this case, the Plaintiff was required to prove each of his claims by a preponderance of

the evidence. When a party has the burden of proof on any claim by a preponderance of the

evidence, it means you must be persuaded by the evidence that the claim is more probably true

than not true. You should base your decision on all of the evidence, regardless of which party

presented it.
       Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 18 of 41




                                   INSTRUCTION NO 15.

       The term “proximate cause” means a cause which in a direct sequence produces the injury

complained of and without which such injury would not have happened.

       There may be more than one proximate cause of an injury.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 19 of 41




                                     INSTRUCTION NO 16.

       An Underinsured Motorist (UIM) policy provides coverage to its insured for injuries or

damages caused by an at-fault, underinsured motorist.

       The purpose of UIM insurance is to allow an injured party to recover those damages that

the injured party would have received had the at-fault party been insured with liability limits as

broad as the injured party’s own UIM insurance limits.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 20 of 41




                                    INSTRUCTION NO 17.

                                         Benefits Claim

       The Integon General Insurance Corporation policy provides UIM coverage for any injury

and damage which was proximately caused by the April 23, 2016 collision. The Plaintiff has the

burden of proving what injuries and damages to the Plaintiff were proximately caused by this

collision and what amount the Plaintiff should recover.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 21 of 41




                                      INSTRUCTION NO 18.

                                    Consumer Protection Act Claim

          Plaintiff Hopkins claims that Defendant Integon General Insurance Corporation

violated the Washington Consumer Protection Act. To prove this claim, Plaintiff Hopkins has the

burden of proving each of the following propositions:

    1)    That Defendant Integon General Insurance Corporation engaged in an unfair or

deceptive act or practice;

    2)    That the act or practice occurred in the conduct of Defendant Integon General

Insurance Corporation’s trade or commerce;

    3)    That the act or practice affects the public interest;

    4)    That Plaintiff Hopkins was injured in either his business or his property, and

    5)    That Defendant Integon General Insurance Corporation’s act or practice was a

proximate cause of Plaintiff Hopkin’s injury.

          If you find from your consideration of all of the evidence that each of these

propositions has been proved, your verdict should be for Plaintiff Hopkins on this claim. On the

other hand, if any of these propositions has not been proved, your verdict should be for

Defendant Integon General Insurance Corporation on this claim.

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        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 22 of 41




                                      INSTRUCTION NO 19.

          A violation, if any, of one or more of the following statutory or regulatory requirements

is a failure to provide benefits, an unfair or deceptive act or practice in the business of insurance

under the Consumer Protection Act, and a breach of the duty of good faith.

     1) Failing to acknowledge and act reasonably promptly upon communications withrespect

to claims arising under insurance policies.

     2) Failing to adopt and implement reasonable standards for the prompt investigation of

claims arising under insurance policies.

     3) Refusing to pay claims without conducting a reasonable investigation.

     4) Not attempting in good faith to effectuate prompt, fair, and equitable settlements of

claims in which liability has become reasonably clear.

     5) Failing to promptly provide a reasonable explanation of the basis in the insurance

policy in relation to the facts or applicable law for denial of a claim.

     6) Compelling an insured to initiate or submit to litigation, arbitration, or appraisal to

recover amounts due under an insurance policy by offering substantially less than the amounts

ultimately recovered in such actions or proceedings.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 23 of 41




                                      INSTRUCTION NO 20.

          A single violation of a statute or regulation relating to the business of insurance is an

unfair or deceptive act or practice. A violation of these statutes and administrative rules also

affects the public interest.

          Statutory and administrative rules that govern insurance companies are set forth in Jury

Instructions above.

          If you find that a violation of a statute or regulation relating to the business of

insurance has occurred, then you must find that the first three elements of a Consumer Protection

Act violation have been proved.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 24 of 41




                                     INSTRUCTION NO 21.

         An insured has suffered an “injury” under the Consumer Protection Act if their

property or business has been injured to any degree. The injury element is met if the insured’s

property interest or money is diminished because of the unlawful conduct even if the expenses

caused by the statutory or regulatory violation is minimal.

         Under the Consumer Protection Act, Plaintiff has the burden of proving that he has

been injured, but no monetary amount need be proved and proof of any injury is sufficient, even

if expenses or losses caused by the violation are minimal.

         Injuries to business or property include financial cost or loss.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 25 of 41




                                     INSTRUCTION NO 22.

                                 Insurance Fair Conduct Act Claim

          Plaintiff Hopkins claims that Defendant Integon General Insurance Corporation has

violated the Washington Insurance Fair Conduct Act. To prove this claim, the Plaintiff has the

burden of proving each of the following propositions:

   1)     That Defendant Integon General Insurance Corporation unreasonably denied payment

of benefits;

   2)     That the Plaintiff Hopkins was damaged;

   3)     That Defendant Integon General Insurance Corporation’s act or practice was a

proximate cause of damage.

          If you find from your consideration of all of the evidence that each of these

propositions has been proved, your verdict should be for the Plaintiff Hopkins on this claim. On

the other hand, if any of these propositions has not been proved, your verdict should be for

Defendant Integon General Insurance Corporation on this claim.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 26 of 41




                                      INSTRUCTION NO 23.

                                Failure to Act in Good Faith Claim

An insurer has a duty to act in good faith. This duty requires an insurer to deal fairly with its

insured. The insurer must give equal consideration to its insured’s interests and its own interests,

and must not engage in any action that demonstrates a greater concern for its own financial

interests than its insured’s financial risk. An insurer who does not deal fairly with its insured, or

who does not give equal consideration to its insured’s interests, fails to act in good faith.

          In proving that an insurer failed to act in good faith, an insured must prove that the

insurer’s conduct was unreasonable, frivolous, or unfounded. The insured is not required to

prove that the insurer acted dishonestly or that the insurer intended to act in bad faith.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 27 of 41




                                      INSTRUCTION NO 24.

       The duty of good faith requires an insurer to conduct a reasonable investigation before

refusing to pay a claim submitted by its insured. An insurer must also have a reasonable

justification before refusing to pay a claim.

       An insurer who refuses to pay a claim, without conducting a reasonable investigation or

without having a reasonable justification, fails to act in good faith.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 28 of 41




                                     INSTRUCTION NO 25.

          The reasonableness of the Defendant’s claim handling must be measured as of the

time that the conduct occurred and based on the facts known to it at the time.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 29 of 41




                                        INSTRUCTION NO 26.

                                          Negligence Claim

         The Plaintiff has the burden of proving each of the following propositions on the claim

of negligence:

         First, that Integon General Insurance Corporation acted, or failed to act, in one of the

ways claimed by the Plaintiff and that in so acting, or failing to act, Integon General Insurance

Corporation was negligent;

         Second, that the Plaintiff was harmed;

         Third, that the negligence of Integon General Insurance Corporation was a proximate

cause of the damage to the Plaintiff.

         If you find from your consideration of all the evidence that each of these propositions

has been proved, your verdict should be for the Plaintiff on this claim. On the other hand, if any

of these propositions has not been proved, your verdict should be for Integon General Insurance

Corporation on this claim.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 30 of 41




                                     INSTRUCTION NO 27.

         Negligence is the failure to exercise ordinary care. It is the doing of some act that a

reasonably careful person would not do under the same or similar circumstances or the failure to

do some act that a reasonably careful person would have done under the same or similar

circumstances.

         Ordinary care means the care a reasonably careful person would exercise under the

same or similar circumstances.
          Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 31 of 41




                                      INSTRUCTION NO 28.

            An insurance regulation provides that the following are standards applicable to all

insurers:

     1)     Every insurer shall complete investigation of a claim within thirty (30) days after

notification of claim, unless such investigation cannot reasonably be completed within such time.

     2)     If the insurer needs more time to determine whether a claim should be accepted or

denied, it shall so notify the claimant within fifteen working days giving the reasons more time is

needed. If the investigation remains incomplete, the insurer shall, within forty-five (45) days

from the date of the initial notification and no later than every thirty (30) days thereafter send to

such claimant a letter setting forth the reasons additional time is needed for investigation.

     3)     For all other pertinent communications from a claimant reasonably suggesting that a

response is expected, an appropriate reply must be provided within ten working days for

individual insurance policies, or fifteen working days with respect to communications arising

under group insurance contracts.

     4)     The insurer's claim files are subject to examination by the commissioner or by duly

appointed designees. The files must contain all notes and work papers pertaining to the claim in

enough detail that pertinent events and dates of the events can be reconstructed.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 32 of 41




                                       INSTRUCTION NO 29.

            The violation, if any, of a statute or administrative rule is not necessarily negligence,

but may be considered by you as evidence in determining negligence. Statutory and

administrative rules that govern insurance companies are set forth in Jury Instruction No. 19 and

28 above.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 33 of 41




                                     INSTRUCTION NO 30.

                                               Damages
       Benefits Claim

       It is your duty to determine the value of Plaintiff Hopkins’ claim for insurance benefits, which

is the amount of money that will reasonably and fairly compensate Plaintiff Hopkins for such damages

as you find were proximately caused by the negligence of the at-fault driver in the April 23, 2016

collision. In determining the value of that claim, you shall not consider the limits of Plaintiff Hopkins

UIM policy. You should consider:

       The following past economic damage elements:

       • The reasonable value of necessary medical care, treatment and services received to the present

time. Plaintiff Hopkins and Defendant Integon General Insurance Company agree that this amount

totals $10,931.

       In addition, you should consider the following noneconomic damages elements:

       • The nature and extent of the injuries.

       • The disability, disfigurement and loss of enjoyment of life experienced and with reasonable

probability to be experienced in the future.

       • The pain and suffering, both mental and physical, and inconvenience experienced and with

reasonable probability to be experienced in the future.

       Plaintiff has been paid $10,000 in personal injury protection and $25,000 from Progressive

Insurance Company for Ms. Montes’s causing the collision. You are not to consider the fact that

Plaintiff Hopkins has already received these payments in calculating your damages. The question of

who pays or who reimburses whom will be decided by the Court in another proceeding after you return

your verdict.

       It is the duty of the court to instruct you as to the measure of damages, that is the amount of

money that will reasonably and fairly compensate Plaintiff Hopkins, on Plaintiff Hopkins’ claims that

Defendant Integon General Insurance Company violated the Consumer Protection Act, the Insurance

Fair Conduct Act, failed to act in good faith, and for negligence. By instructing you as to the measure
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 34 of 41




of damages for those claims, the Court does not mean to suggest for which party your verdict should

be rendered as to those claims.

       Consumer Protection Act

       If you find for Plaintiff Hopkins on his claim that Defendant Integon General Insurance

Company violated the Washington Consumer Protection Act, then the damages that you may award

for this claim are limited to Plaintiff Hopkins’ unreimbursed medical expenses and the expert witness

fees that Plaintiff Hopkins paid for this case. Plaintiff Hopkins’ unreimbursed medical expenses totaled

$931, and the expert witness fees he paid totaled $16,000.

       • Insurance Fair Conduct Act

       If you find for Plaintiff Hopkins on his claim that Defendant Integon General Insurance

Company violated the Washington Insurance Fair Conduct Act, then you should consider the following

elements of damages:

       • Any emotional distress that Plaintiff Hopkins suffered as a proximate result of Defendant

Integon General Insurance Company’s violation of the Insurance Fair Conduct Act.

       • Lost or diminished assets or property.

       Failure to act in good faith

       If you find for Plaintiff Hopkins on his claim that Defendant Integon General Insurance

Company failed to act in good faith, then you should consider the following elements of damages:

       • Any emotional distress that Plaintiff Hopkins suffered as a proximate result of Defendant

Integon General Insurance Company’s failure to act in good faith.

       • Lost or diminished assets or property.

       Negligence

       If you find for Plaintiff Hopkins on his claim that Defendant Integon General Insurance

Company was negligent, then you should consider the following elements of damages:

       • Any emotional distress that Plaintiff Hopkins suffered as a proximate result of Defendant

Integon General Insurance Company’s negligence.

       • Lost or diminished assets or property.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 35 of 41




       The burden of proving damages rests upon Plaintiff Hopkins. It is for you to determine, based

upon the evidence, whether any particular element has been proved by a preponderance of the evidence.

       Your award must be based upon evidence and not upon speculation, guess, or conjecture.

       The law has not furnished us with any fixed standards by which to measure noneconomic

damages. With reference to these matters you must be governed by your own judgment, by the evidence

in the case, and by these instructions.

       When determining the damages for each or any individual claim that has been proven by

Plaintiff Hopkins, you should determine what damages were proven by a preponderance of the

evidence for that individual claim, regardless of any amount determined or awarded for any other claim.

In other words, you should determine the amount of damages for any individual claim as if it were the

only claim that was asserted or proven. If you determine that more than one claim has been proven and

have awarded damages for more than one claim, then the total award, as reflected in the Verdict Form,

should not duplicate the damages. In other words, if you conclude that Plaintiff Hopkins suffered the

same economic or noneconomic damages as a result of more than one of the causes of action that was

proven, then the total award should only reflect those damages one time. Thus, the total award recorded

in the Verdict Form should reflect the total damages suffered by Plaintiff Hopkins, not a duplicate of

the same damages.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 36 of 41




                                       INSTRUCTION NO 31.

            An insured also has a duty of good faith to the insurer. Plaintiff Hopkins complied with

his duty.
          Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 37 of 41




                                        INSTRUCTION NO 32.

           If your verdict is for the Plaintiff, and if you find that:

     1) before this occurrence the Plaintiff had a condition that was not causing pain or

disability; and

     2) the condition made the Plaintiff more susceptible to injury than a person in normal

health,

           then you should consider all the injuries and damages that were proximately caused by

the occurrence, even though those injuries, due to the pre-existing condition, may have been

greater than those that would have been incurred under the same circumstances by a person

without that condition.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 38 of 41




                                     INSTRUCTION NO 33.

       A verdict form has been prepared for you to fill out electronically. After you have

reached unanimous agreement on a verdict, your presiding juror will fill in the form that has

been given to you, sign and date it, and advise the courtroom deputy that you are ready to return

to the courtroom.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 39 of 41




                                      INSTRUCTION NO 34.

       I will now say a few words about your conduct as jurors.

       First, keep an open mind, and do not decide what the verdict should be until you and your

fellow jurors have completed your deliberations.

       Second, because you must decide this case based only on the evidence received in the

case and on my instructions as to the law that applies, you must not be exposed to any other

information about the case or to the issues it involves during the course of your jury duty. Thus,

until the end of the case or unless I tell you otherwise:

       Do not communicate with anyone in any way and do not let anyone else communicate

with you in any way about the merits of the case or anything to do with it. This includes

discussing the case in person, in writing, by phone or electronic means, via e-mail, text

messaging, or any Internet chat room, blog, Web site or other feature. This applies to

communicating with your fellow jurors until I give you the case for deliberation, and it applies to

communicating with everyone else including your family members, your employer, and the

people involved in the trial, although you may notify your family and your employer that you

have been seated as a juror in the case. But, if you are asked or approached in any way about

your jury service or anything about this case, you must respond that you have been ordered not to

discuss the matter and to report the contact to the court.

       Because you have received all the evidence and legal instruction you properly may

consider to return a verdict: do not read, watch, or listen to any news or media accounts or

commentary about the case or anything to do with it; do not do any research, such as consulting

dictionaries, searching the Internet or using other reference materials; and do not make any

investigation or in any other way try to learn about the case on your own.
        Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 40 of 41




       The law requires these restrictions to ensure the parties have a fair trial based on the same

evidence that each party has had an opportunity to address. A juror who violates these

restrictions jeopardizes the fairness of these proceedings, and a mistrial could result that would

require the entire trial process to start over. If any juror is exposed to any outside information,

please notify the court immediately.
         Case 2:18-cv-01723-MJP Document 87 Filed 10/14/20 Page 41 of 41




                                      INSTRUCTION NO 35.

        Before you begin your deliberations, elect one member of the jury as your presiding

juror. The presiding juror will preside over the deliberations and serve as the spokesperson for

the jury in court.

        You shall diligently strive to reach agreement with all of the other jurors if you can do so.

Your verdict must be unanimous.

        Each of you must decide the case for yourself, but you should do so only after you have

considered all of the evidence, discussed it fully with the other jurors, and listened to their views.

        It is important that you attempt to reach a unanimous verdict but, of course, only if each

of you can do so after having made your own conscientious decision. Do not be unwilling to

change your opinion if the discussion persuades you that you should. But do not come to a

decision simply because other jurors think it is right, or change an honest belief about the weight

and effect of the evidence simply to reach a verdict.
